Case 1:24-mj-00404-CLP            Document 57       Filed 10/10/24      Page 1 of 1 PageID #: 229

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                                LETTER MOTION TO
                     MODIFY CONDITIONS OF RELEASE ON CONSENT
                                                       October 10, 2024
MAGISTRATE JUDGE VERA M. SCANLON
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                                Re: United States v. Ammar Awawdeh
                                Criminal Docket No. 24-mj-00404-CLP-1

Dear Magistrate Judge Scanlon:
      Please be advised that I, Matin Emouna, of the firm Emouna & Mikhail PC, along with
Mark Lesko of the firm Greenberg Traurig LLP, represent Ammar Awawdeh, the defendant in the
aforementioned matter.

        This letter is respectfully submitted on behalf of Ammar Awawdeh, whom to date has
been fully compliant with the conditions of release, in support of his motion to modify his
conditions of release on consent of the government and Pretrial Services, in order to allow him
to attend his childhood friend’s wedding, Vilson Lumaj, on October 12, 2024, located at 141 Route
23 South, Pompton Plains, New Jersey the Legacy Castle from 6:00 PM until 2:00 AM.

       By way of background, on June 7, 2024, Mr. Awawdeh was arraigned before Magistrate
Judge Marcia M. Henry, whereby defense counsel and government agreed on a $100,000 bond
with two (2) sureties, subject to home detention and addiction assessment (See Dkt. No. 23).

        On August 23, 2024, Mr. Awawdeh’s condition of release was modified on consent by
striking paragraph (7) (i) (ii) (“Home Detention”) of the June 7, 2024 Order and replaced that
condition with the following condition: “a curfew with location monitoring as directed by Pretrial
Services.” (See Dkt. No. 51).

          The Court’s time and attention to this matter are greatly appreciated.

                                                       Respectfully submitted,
                                                       / S/   Matin Emouna
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